                                                                                          08/26/2024


             IN THE SUPREME COURT OF THE STATE OF MONTANA                             Case Number: DA 24-0324
                      Supreme Court Cause No. DA-24-0324


COTTONWOOD ENVIRONMENTAL LAW
CENTER; LIZ AMETSBOSCHLER; DANNY
CHORIKI; JEREMY DRAKE; AVIV GUSCIO;
KATIE HARRISON; YOUPA STEIN; MARY                               ORDER
STRANAHAN; JAN SWANSON; TOMAS
WALDORF,
                  Plaintiffs/Appellees

    vs.
STATE OF MONTANA,

                   Defendant/Appellant




          Plaintiffs/Appellees Cottonwood Environmental Law Center, Liz

  Ametsboschler, Danny Choriki, Jeremy Drake, Aviv Guscio, Katie Harrison,

  Youpa Stein, Mary Stranahan, Jan Swanson, and Tomas Waldorf (collectively

  “Appellees”) moved for a 30-day extension of time to file their response brief.

          Defendant/Appellant State of Montana does not oppose the motion.

  Appellees’ motion is granted.

          Appellees shall file their response brief on or before October 7, 2024.

                Dated this ____ day of ______________, 2024.




                                                                          Electronically signed by:
                                                                             Bowen Greenwood
                                                                         Clerk of the Supreme Court
                                                                               August 26 2024
